8:02-cr-00353-BCB-SMB        Doc # 800      Filed: 04/09/13    Page 1 of 1 - Page ID # 4224



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:02CR353
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
BARRY RENFOLD COOLEY,                         )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s pro se Motion Requesting

Permission to Amend and/or Supplement Motion to Vacate, Set Aside or Correct Sentence

(Filing No. 798).

       IT IS ORDERED:

       1.     The Defendant’s Motion Requesting Permission to Amend and/or

              Supplement Motion to Vacate, Set Aside or Correct Sentence (Filing No.

              798) is denied; and

       2.     The Clerk is directed to mail a copy of this order to the Defendant at his last

              known address.

       DATED this 9th day of April, 2013.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  Chief United States District Judge
